 Case 2:05-cr-00105-LRS
    Case:               ECF No. 254ID:filed
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                     UNITED STATES COURT OF APPEALS                          JAN 25 2013

                                                                        MOLLY C. DWYER, CLERK
                            FOR THE NINTH CIRCUIT                         U .S. C O U R T OF APPE ALS




UNITED STATES OF AMERICA,                        No. 12-35812

              Plaintiff - Appellee,              D.C. Nos.    2:12-cv-00348-LRS
                                                              2:05-cr-00105-LRS
  v.                                             Eastern District of Washington,
                                                 Spokane
RAUL S. ZAVALA,

              Defendant - Appellant.             ORDER



Before:      O’SCANNLAIN and SILVERMAN, Circuit Judges.

       The request for a certificate of appealability is denied. See 28 U.S.C.

§ 2253(c)(2). All pending motions, if any, are denied as moot.
